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       January 21, 2021                                                              Matthew Bohuslav       Digitally signed by Matthew Bohuslav
                                                                                                            Date: 2021.02.05 14:38:28 -06'00'

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